                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 1 of 37 Page ID
                                                  #:1067

            1      JOSHUA H. LERNER, SBN 220755
                     jlerner@gibsondunn.com
            2      GIBSON, DUNN & CRUTCHER LLP
                   555 Mission Street Suite 3000
            3      San Francisco, CA 94105
                   Telephone: 415.393.8200
            4      Facsimile: 415.393.8306
            5      H. MARK LYON, SBN 162061
                     mlyon@gibsondunn.com
            6      GIBSON, DUNN & CRUTCHER LLP
                   1881 Page Mill Road
            7      Palo Alto, CA 94304-1211
                   Telephone: 650.849.5300
            8      Facsimile: 650.849.5333
            9      Attorneys for Defendant Apple Inc.
          10
                                       UNITED STATES DISTRICT COURT
          11
                                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
          12                                SOUTHERN DIVISION
          13       MASIMO CORPORATION,
                   a Delaware corporation; and
          14       CERCACOR LABORATORIES, INC.,            CASE NO. 8:20-cv-00048-DOC-DFM
                   a Delaware corporation,
          15                                               MEMORANDUM OF POINTS AND
                                      Plaintiffs,          AUTHORITIES IN SUPPORT OF
          16                                               DEFENDANT APPLE INC.’S
                         v.                                MOTION TO DISMISS
          17
                   APPLE INC.,                             Hearing
          18       a California corporation,
                                                           Date:           Date: April 6, 2020
          19                          Defendant.           Time:           8:30 a.m.
                                                           Courtroom:      9D
          20                                               Judge:          Hon. David O. Carter
          21
          22
          23
          24
          25
          26
          27
          28

Gibson, Dunn &
Crutcher LLP

                   MEMO. ISO APPLE’S MOT. TO DISMISS                 CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 2 of 37 Page ID
                                                  #:1068

            1                                               TABLE OF CONTENTS
            2                                                                                                                                Page
            3      I.     INTRODUCTION ................................................................................................ 1
            4      II.    BACKGROUND .................................................................................................. 2
            5             A.       Plaintiffs Allege an Effort to Misappropriate Their Confidential
                                   Information More Than Six Years before Filing This Action. .................. 2
            6
                          B.       Plaintiffs’ Alleged Secrets Were Published in a Patent Application
            7                      More Than Three Years before Plaintiffs Filed This Action. .................... 3
            8             C.       Plaintiffs Filed This Case with No Explanation for the Delay, No
                                   Plausible Description of Alleged Secrets, and No Explanation as to
            9                      How Apple Was Supposed to Recognize Any Impropriety. ..................... 4
          10              D.       Plaintiffs’ Claims for Patent Infringement, Correction of
                                   Inventorship, and Declaratory Judgment Also Lack Basic Facts. ............. 5
          11
                   III.   LEGAL STANDARD .......................................................................................... 5
          12
                   IV.    ARGUMENT........................................................................................................ 6
          13
                          A.       The Eleventh Cause of Action for Trade Secret Misappropriation
          14                       Should Be Dismissed. ................................................................................ 6
          15                       1.       The Claim Is Time-Barred. .............................................................. 6
          16                                a)        The Limitations Period on the CUTSA Claim Began
                                                      More Than Three Years Ago................................................. 6
          17
                                            b)        Plaintiffs Have Not Pleaded an Excuse for Their
          18                                          Delay. ..................................................................................... 9
          19                       2.       Plaintiffs’ CUTSA Claim Should Be Dismissed for Failure to
                                            State a Claim. ................................................................................. 10
          20
                                            a)        Plaintiffs Do Not Sufficiently Allege Any Trade
          21                                          Secrets. ................................................................................. 10
          22                                b)        The Complaint Fails to Sufficiently Allege
                                                      Misappropriation by “Improper Means.” ............................ 12
          23
                          B.       The First through Tenth Causes of Action Should Be Dismissed
          24                       because They Do Not Plausibly Plead Patent Infringement. ................... 16
          25              C.       The Seventeenth Cause of Action for Ownership Should Be
                                   Dismissed. ................................................................................................ 20
          26
                          D.       The Twelfth through Sixteenth Causes of Action Should Be
          27                       Dismissed. ................................................................................................ 23
          28                       1.       Plaintiffs Lack Standing to Seek Correction of Inventorship. ....... 23
Gibson, Dunn &
Crutcher LLP

                   MEMO. ISO APPLE’S MOT. TO DISMISS                            i                  CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 3 of 37 Page ID
                                                  #:1069

            1                    2.       Plaintiffs Fail to Plead Required Elements of an Inventorship
                                          Claim. ............................................................................................. 25
            2
                   V.    CONCLUSION .................................................................................................. 25
            3
            4
            5
            6
            7
            8
            9
          10
          11
          12
          13
          14
          15
          16
          17
          18
          19
          20
          21
          22
          23
          24
          25
          26
          27
          28

Gibson, Dunn &
Crutcher LLP

                   MEMO. ISO APPLE’S MOT. TO DISMISS                         ii                  CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 4 of 37 Page ID
                                                  #:1070

            1                                              TABLE OF AUTHORITIES
            2                                                                                                                       Page(s)
            3      Cases
            4
                   Akazawa v. Link New Tech. Int’l, Inc.,
            5        520 F.3d 1354 (Fed. Cir. 2008) ................................................................................ 20
            6      Alamar Biosciences Inc. v. Difco Labs. Inc.,
            7         1996 WL 648286 (E.D. Cal. Feb. 27, 1996) .................................................... 7, 8, 10
            8      Alta Devices, Inc. v. LG Elecs., Inc.,
            9         2019 WL 1924992 (N.D. Cal. Apr. 30, 2019)........................................................ 7, 8

          10       Anderson v. Dist. Bd. of Trs. of Cent. Fla. Cmty. Coll.,
                     77 F.3d 364 (11th Cir. 1996) .................................................................................... 22
          11
          12       Anderson v. Kimberly-Clark Corp.,
                     570 F. App’x 927 (Fed. Cir. 2014) ............................................................................. 5
          13
                   Arachnid, Inc. v. Merit Indus., Inc.,
          14          939 F.2d 1574 (Fed. Cir. 1991) ................................................................................ 24
          15
                   Ashcroft v. Iqbal,
          16          556 U.S. 662 (2009).................................................................................................... 5
          17
                   Balistreri v. Pacifica Police Dept.,
          18          901 F.2d 696 (9th Cir. 1988) .................................................................................... 21
          19       Beech Aircraft Corp. v. EDO Corp.,
          20          990 F.2d 1237 (Fed. Cir. 1993) ................................................................................ 24

          21       Bell Atl. v. Twombly,
                      550 U.S. 544, 555 (2007) ........................................................................................... 5
          22
          23       Bladeroom Grp. Ltd. v. Facebook,
                      2015 WL 8028294 (N.D. Cal. Dec. 7, 2015) ........................................................... 10
          24
                   Chou v. University of Chicago,
          25
                     254 F.3d 1347 (Fed. Cir. 2001) ................................................................................ 23
          26
                   Countrywide Home Loans, Inc. v. Mortgage Guar. Ins. Corp.,
          27         642 F.3d 849 (9th Cir. 2011) .................................................................................... 21
          28

Gibson, Dunn &
Crutcher LLP

                   MEMO. ISO APPLE’S MOT. TO DISMISS                           iii               CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 5 of 37 Page ID
                                                  #:1071

            1                                             TABLE OF AUTHORITIES
            2                                                   (continued)

            3                                                                                                                      Page(s)

            4      Cypress Semiconductor Corp. v. Maxim Integrated Prods., Inc.,
                     236 Cal. App. 4th 243 (Cal. Ct. App. 2015) ............................................................. 14
            5
            6      Cypress Semiconductor Corp. v. Super. Ct.,
                     163 Cal. App. 4th 575 (Cal. Ct. App. 2008) ............................................................... 6
            7
                   DDB Techs., L.L.C. v. MLB Advanced Media, L.P.,
            8
                     517 F.3d 1284 (Fed. Cir. 2008) ................................................................................ 24
            9
                   Diodes v. Franzen,
          10          260 Cal. App. 2d 244 (Ct. App. 1968) ..................................................................... 12
          11
                   Dynacore Holdings Corp. v. U.S. Philips Corp.,
          12         363 F.3d 1263 (Fed. Cir. 2004) ................................................................................ 20
          13       e.Digital Corp. v. iBaby Labs, Inc.,
          14          2016 WL 4427209 (N.D. Cal. Aug. 22, 2016) ......................................................... 17
          15       Ecojet, Inc. v. Pure Spa Components, Inc.,
                     2017 WL 3485780 (C.D. Cal. Feb. 10, 2017) .......................................................... 25
          16
          17       Eli Lilly & Co. v. Aradigm Corp.,
                      376 F.3d 1352 (Fed. Cir. 2004) ................................................................................ 25
          18
          19       Fox v. Ethicon Endo-Surgery,
                     35 Cal. 4th 797 (2005) ................................................................................................ 9
          20
                   Gabriel Techs. Corp. v. Qualcomm Inc.,
          21         857 F. Supp. 2d 997 (S.D. Cal. 2012) ................................................................ 6, 7, 9
          22
                   GeoData Sys. Mgmt. v. Am. Pac. Plastic Fabricators,
          23         2015 WL 12731920 (C.D. Cal. Sept. 21, 2015) ....................................................... 10
          24       Hamilton v. Deputy # 1,
          25         2014 WL 1289538 (C.D. Cal. Mar. 26, 2014) ......................................................... 21
          26       Hays v. VDF Futureceuticals, Inc.,
          27         2016 WL 5660395 (D. Haw. Sept. 28, 2016)......................................................... 6, 8

          28

Gibson, Dunn &
Crutcher LLP

                   MEMO. ISO APPLE’S MOT. TO DISMISS                          iv                CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 6 of 37 Page ID
                                                  #:1072

            1                                             TABLE OF AUTHORITIES
            2                                                   (continued)

            3                                                                                                                      Page(s)

            4      HIF Bio, Inc. v. Yung Shin Pharm. Indus. Co.,
                     600 F.3d 1347 (Fed. Cir. 2010) ................................................................................ 22
            5
            6      Hor v. Chu,
                     699 F.3d 1331 (Fed. Cir. 2012) ................................................................................ 22
            7
                   Horowitz v. Yishun Chen,
            8
                     2018 WL 6219928 (C.D. Cal. May 14, 2018) .......................................................... 17
            9
                   Human Longevity, Inc. v. J. Craig Venter Inst., Inc.,
          10         2018 WL 6617633 (S.D. Cal. Dec. 18, 2018) .......................................................... 10
          11
                   Injen Tech. Co. v. AF Dynamic,
          12          2018 WL 6977432 (C.D. Cal. Oct. 18, 2018) ............................................................ 5
          13       Int’l Techs. & Sys. Corp. v. Samsung Elecs. Co. Ltd.,
          14           2018 WL 4963129 (C.D. Cal. June 22, 2018) ........................................ 16, 17, 18, 19
          15       Jim Arnold Corp. v. Hydrotech Sys., Inc.,
                      109 F.3d 1567 (Fed. Cir. 1997) ................................................................................ 20
          16
          17       Klang v. Pflueger,
                      2014 WL 4922401 (C.D. Cal. July 10, 2014) ........................................................ 6, 9
          18
          19       Laitram Corp. v. Rexnord, Inc.,
                      939 F.2d 1533 (Fed. Cir. 1991) ................................................................................ 16
          20
                   Larson v. Correct Craft, Inc.,
          21          569 F.3d 1319 (Fed. Cir. 2009) .......................................................................... 23, 25
          22
                   Lujan v. Defs. of Wildlife,
          23          504 U.S. 555 (1992).................................................................................................. 23
          24       MedioStream, Inc. v. Microsoft Corp.,
          25         869 F. Supp. 2d 1095 (N.D. Cal. 2012) .................................................................... 16
          26       Metricolor LLC v. L’Oreal S.A.,
          27         791 F. App’x 183 (Fed. Cir. 2019) ........................................................................... 17

          28

Gibson, Dunn &
Crutcher LLP

                   MEMO. ISO APPLE’S MOT. TO DISMISS                           v                CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 7 of 37 Page ID
                                                  #:1073

            1                                            TABLE OF AUTHORITIES
            2                                                  (continued)

            3                                                                                                                 Page(s)

            4      Mollett v. Netflix, Inc.,
                     795 F.3d 1062 (9th Cir. 2015) .................................................................................... 5
            5
            6      Moore v. City of Orange,
                     2017 WL 10518114 (C.D. Cal. Sept. 25, 2017) ....................................................... 23
            7
                   Moss v. U.S. Secret Serv.,
            8
                     572 F.3d 962 (9th Cir. 2009) .................................................................................... 19
            9
                   N. Star Innovations Inc. v. Kingston Tech. Co., Inc.,
          10          2018 WL 3155258 (C.D. Cal. May 7, 2018), adopted by 2018 WL
          11          3155708 (C.D. Cal. June 25, 2018) .............................................................. 17, 19, 20
          12       Pappalardo v. Stevins,
                     746 F. App’x 971 (Fed. Cir. 2018) ........................................................................... 22
          13
          14       Pellerin v. Honeywell Int’l, Inc.,
                      877 F. Supp. 2d 983 (S.D. Cal. 2012) ................................................................ 12, 14
          15
                   Prize Frize, Inc. v. Matrix (U.S.) Inc.,
          16
                      167 F.3d 1261 (9th Cir. 1999) .................................................................................. 20
          17
                   Quest Nutrition, LLC v. Bd. of Supervisors of LSU Agric. & Mech. Coll.,
          18         2014 WL 3362061 (C.D. Cal. July 8, 2014) ............................................................ 20
          19
                   Realvirt, LLC v. Lee,
          20         195 F. Supp. 3d 847 (E.D. Va. 2016), aff’d sub nom. Realvirt, LLC v.
          21         Iancu, 734 F. App’x 755 (Fed. Cir. 2018) ................................................................ 20

          22       Ruling Meng v. Ching–Wu Paul Chu,
                      643 F. App’x 990 (Fed. Cir. 2016) ........................................................................... 25
          23
          24       S. Cal. Inst. of Law v. TCS Educ. Sys.,
                      2011 WL 1296602 (C.D. Cal. Apr. 5, 2011) ............................................................ 13
          25
                   Silvaco Data Sys. v. Intel Corp.,
          26           184 Cal. App. 4th 210 (Cal. Ct. App. 2010), overruled on other
          27           grounds by Kwikset Corp. v. Super. Ct., 51 Cal. 4th 310 (Cal. 2011) ..................... 14
          28       Space Data Corp. v. X, 2017 WL 5013363 (N.D. Cal. Feb. 16, 2017) ................... 11, 15
Gibson, Dunn &
Crutcher LLP

                   MEMO. ISO APPLE’S MOT. TO DISMISS                        vi               CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 8 of 37 Page ID
                                                  #:1074

            1                                                TABLE OF AUTHORITIES
            2                                                      (continued)

            3                                                                                                                            Page(s)

            4      Synopsys, Inc. v. ATopTech, Inc.,
                      2013 WL 5770542 (N.D. Cal. Oct. 24, 2013) .................................................... 11, 12
            5
            6      TeleSign Corp. v. Twilio, Inc.,
                      2016 WL 4703873 (C.D. Cal. Aug. 3, 2016) ........................................................... 17
            7
                   Town of Chester v. Laroe Estates, Inc.,
            8
                     137 S. Ct. 1645 (2017).............................................................................................. 24
            9
                   Vendavo, Inc. v. Price,
          10         2018 WL 1456697 (N.D. Cal. Mar. 23, 2018) ......................................................... 11
          11
                   Vita-Herb Nutriceuticals, Inc. v. Probiohealth, LLC,
          12          2013 WL 1182992 (C.D. Cal. Mar. 20, 2013) ................................................... 23, 25
          13       Wang v. Palo Alto Networks,
          14         2014 WL 1410346 (N.D. Cal. Apr. 11, 2014)........................................................ 8, 9
          15       Zomm, LLC v. Apple Inc.,
                     391 F. Supp. 3d. 946 (N.D. Cal. 2019) ..................................................................... 15
          16
          17       Zora Analytics, LLC v. Sakhamuri,
                      2013 WL 12124612 (S.D. Cal. June 18, 2013) ........................................................ 15
          18
          19       Statutes

          20       28 U.S.C. § 2201 ............................................................................................................ 23
          21       Cal. Civ. Code § 3426.1(a) ............................................................................................ 13
          22       Cal. Civ. Code § 3426.1(b)(1) ....................................................................................... 13
          23
                   Cal. Civ. Code § 3426.1(b)(2)(A)–(B) .......................................................................... 13
          24
                   Cal. Civ. Code § 3426.6 ................................................................................................... 6
          25
          26       Other Authorities

          27       Apple Watch Series 4 Teardown, iFixIt (Sept. 24, 2018),
                     https://www.ifixit.com/Teardown/Apple+Watch+Series+4+Teardown/
          28         113044 ...................................................................................................................... 18
Gibson, Dunn &
Crutcher LLP

                   MEMO. ISO APPLE’S MOT. TO DISMISS                             vii                 CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 9 of 37 Page ID
                                                  #:1075

            1                                              TABLE OF AUTHORITIES
            2                                                    (continued)

            3                                                                                                                        Page(s)

            4      Rules
            5      Fed. R. Civ. Proc. 10(b) ................................................................................................. 22
            6
            7
            8
            9
          10
          11
          12
          13
          14
          15
          16
          17
          18
          19
          20
          21
          22
          23
          24
          25
          26
          27
          28

Gibson, Dunn &
Crutcher LLP

                   MEMO. ISO APPLE’S MOT. TO DISMISS                           viii               CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 10 of 37 Page ID
                                                   #:1076

            1                                  TABLE OF ABBREVIATIONS
            2
            3        Abbreviation                 Document
            4        Apple                        Defendant Apple Inc.
            5
                     Masimo                       Plaintiff Masimo Corporation
            6
                     Cercacor                     Plaintiff Cercacor Laboratories, Inc.
            7
            8        Plaintiffs                   Masimo and Cercacor, collectively

            9        Complaint                    Plaintiffs’ Original Complaint filed before this Court
          10         Accused Products             Apple Watch Series 4 and 5 devices
          11
                     ’265 patent                  U.S. Patent No. 10,258,265
          12
                     ’266 patent                  U.S. Patent No. 10,258,266
          13
          14         ’628 patent                  U.S. Patent No. 10,292,628

          15         ’708 patent                  U.S. Patent No. 10,299,708
          16         ’190 patent                  U.S. Patent No. 10,376,190
          17
                     ’191 patent                  U.S. Patent No. 10,376,191
          18
                     ’695 patent                  U.S. Patent No. 10,470,695
          19
                     ’994 patent                  U.S. Patent No. 6,771,994
          20
          21         ’703 patent                  U.S. Patent No. 8,457,703
          22         ’776 patent                  U.S. Patent No. 10,433,776
          23         Asserted Patents             The ’265, ’266, ’628, ’708, ’190, ’191, ’695, ’994,
          24                                      ’703, and ’776 patents, collectively
          25         ’052 patent                  U.S. Patent No. 10,078,052
          26         ’670 patent                  U.S. Patent No. 10,247,670
          27
                     ’095 patent                  U.S. Patent No. 9,952,095
          28

Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS          ix           CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 11 of 37 Page ID
                                                   #:1077

            1
                     ’754 patent                  U.S. Patent No. 10,219,754
            2
                     ’671 patent                  U.S. Patent No. 10,524,671
            3
            4        Apple Patents                The ’052, ’670, ’095, ’754, and ’671 patents,
                                                  collectively
            5
                     ’832 application             U.S. Patent Application No. 15/667,832
            6
            7        ’507 application             U.S. Patent Application No. 15/960,507

            8        Apple Applications           The ’832 and ’507 applications, collectively
            9        ’912 publication             U.S. Patent Application Publication No. 2019/0072912
          10
                     ’806 publication             U.S. Patent Application Publication No. 2019/0090806
          11
                     ’726 publication             U.S. Patent Publication No. 2016/0061726
          12
          13         CUTSA                        The California Uniform Trade Secret Act

          14         COA                          Cause of Action
          15         RJN                          Defendant Apple’s Request for Judicial Notice in
          16                                      Support of Defendant’s Motion to Dismiss (filed
                                                  concurrently herewith)
          17
          18
          19
          20
          21
          22
          23
          24
          25
          26
          27
          28

Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS          x            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 12 of 37 Page ID
                                                   #:1078

            1                                      I.     INTRODUCTION
            2
                          Plaintiffs allege almost twenty claims in an effort to capitalize on the success of
            3
                    Apple’s Watch. Notwithstanding their scattershot approach, not one of Plaintiffs’ claims
            4
                    is viable—Plaintiffs’ trade secret allegations are not timely under the relevant statute of
            5
                    limitations, nor do Plaintiffs plead key requirements of every cause of action.
            6
                    Accordingly, the Complaint is facially deficient and should be dismissed.
            7
                          The Complaint follows a false narrative that Apple somehow took Plaintiffs’ trade
            8
                    secrets as long as six years ago. But the face of the Complaint shows that even if
            9
                    Plaintiffs pleaded the elements of a trade secrets claim—they do not—the claim would
          10
                    be time-barred. The statute of limitations for a trade secrets claim is three years, yet
          11
                    Plaintiffs filed this action six years after an unwarranted warning to Apple of a purported
          12
                    “targeted effort to obtain information and expertise” from Plaintiffs. Further, Plaintiffs
          13
                    waited three and a half years after the first patent application allegedly containing
          14
                    Plaintiffs’ alleged trade secrets was published to bring this case. Plaintiffs offer no
          15
                    excuse for the delay, and precedent dictates that the Court should dismiss the trade
          16
                    secrets claim. The trade secrets claim fails for the equally important reason that
          17
                    Plaintiffs do not allege any trade secrets with specificity sufficient to permit Apple or
          18
                    this Court to understand the bounds of their claim. Plaintiffs plead an open-ended list
          19
                    of broad categories of information, which is insufficient as a matter of well-established
          20
                    law. Separately, Plaintiffs fail to allege requisite knowledge. In sum, the trade secrets
          21
                    claim is fatally vague and should be dismissed.
          22
                          The patent infringement COAs (Nos. 1–10) are also defective for not adequately
          23
                    comparing the patent claims to the Accused Products. While they point to two of
          24
                    Apple’s patent publications and allege that these publications “describe” several
          25
                    limitations from the claims of each of the Asserted Patents, these COAs fail to link the
          26
                    statements in these patent publications to the specific functionality of the Accused
          27
                    Products and also fail to link the statements in these publications to the specific
          28
                    limitations of the Asserted Patents. Indeed, for the majority of the claim limitations, the
Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS           1            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 13 of 37 Page ID
                                                   #:1079

            1       Complaint merely recites the claim language for that limitation, alleging without factual
            2       support that the Accused Products include that limitation. These COAs, therefore, fail
            3       to plausibly allege that the Accused Products practice each limitation of at least one
            4       asserted claim, and should accordingly be dismissed.
            5             COA No. 17 (framed as a declaratory judgment) likewise contains fatal flaws.
            6       Patent ownership is a state law issue but the Complaint does not plead any state law
            7       cause of action or theory. COA No. 17 also seeks relief that this Court cannot grant—
            8       first, by seeking exclusive ownership of patent applications that this Court has no ability
            9       to grant, and second, by requesting that this Court order specific performance which is
          10        not permitted in a declaratory judgment claim. Lastly, this COA improperly pleads a
          11        multitude of claims without providing sufficient explanation for Apple to know which
          12        allegations apply to which claim. As a result, this COA should also be dismissed.
          13              Finally, the correction of inventorship COAs (Nos. 12–16) fare no better. In these
          14        COAs, Plaintiffs allege that three employees of Masimo, Cercacor, or both—the
          15        Complaint is contradictory on which entity actually employs these individuals—should
          16        be listed as inventors on five of Apple’s patents. Critically, however, Plaintiffs fail to
          17        allege that they have a concrete ownership interest in these patents, and thus have not
          18        established that they have standing to bring these claims on behalf of their employees.
          19        These COAs must therefore also be dismissed.
          20                                        II.    BACKGROUND
          21        A.    Plaintiffs Allege an Effort to Misappropriate Their Confidential
                          Information More Than Six Years before Filing This Action.
          22
          23              According to the Complaint, in 2013, Apple contacted Masimo, entered into a

          24        confidentiality agreement with Masimo, and had “confidential discussions” with

          25        Masimo’s management, but then “systematically recruited . . . key Masimo personnel,”

          26        including O’Reilly, Masimo’s former Chief Medical Officer, and Lamego, Cercacor’s

          27        former CTO.       Compl. ¶¶ 19–21.       “O’Reilly was privy to extremely sensitive

          28        information . . . about mobile medical products and applications, wellness applications,

Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS           2            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 14 of 37 Page ID
                                                   #:1080

            1       clinical data gathering and analytics, and other technology of Masimo.” Id. ¶ 20.
            2       Lamego had access to “highly confidential technical information,” “was taught about
            3       the keys to effective non-invasive monitoring,” and was “exposed to guarded secrets
            4       regarding mobile medical products”—in all of which he allegedly had no involvement
            5       prior to Masimo. Id. ¶ 21.
            6             In 2014, Plaintiffs claim to have become suspicious of “a targeted effort to obtain
            7       information and expertise from Masimo and Cercacor.” Id. ¶ 22. Indeed, Plaintiffs
            8       reference, but fail to attach to their Complaint, their January 24, 2014 letter “warn[ing]
            9       Apple about respecting their rights.” Id.; RJN, Ex. A. 1 Plaintiffs stated their concern
          10        that “Apple [was] attempting to gain access to, or at least the benefit of, Cercacor and
          11        Masimo’s trade secrets,” and that “Apple w[ould] employ Mr. Lamego in an area
          12        that . . . involve[d] healthcare technology, including mobile health applications and the
          13        measurement of physiological information.” RJN, Ex. A, at 1–2. Yet in the intervening
          14        six years, even after it was publicly known that Mr. Lamego was working for Apple in
          15        the wearables space, Plaintiffs did nothing.
          16              B.    Plaintiffs’ Alleged Secrets Were Published in a Patent Application
                                More Than Three Years before Plaintiffs Filed This Action.
          17
                          By claiming that Apple purportedly “used and disclosed Plaintiffs’ Confidential
          18
                    Information at least by filing patent applications containing Masimo’s Confidential
          19
                    Information,” Plaintiffs concede that they were on notice of the purported disclosure
          20
                    more than three years before filing the present action. Compl. ¶ 185; id. ¶ 187. Plaintiffs
          21
                    claim that “[s]hortly after joining Apple in January 2014, Lamego pursued on behalf of
          22
                    Apple numerous patent applications . . . on technologies he was intimately involved in
          23
                    at Plaintiffs.” Id. ¶¶ 21–23. One of those patent applications names Lamego as an
          24
                    inventor and was published with the title “Reflective Surface Treatments For Optical
          25
                    Sensors” on March 3, 2016. See id. ¶ 24 (citing U.S. Patent Application No. 14/740,196,
          26
          27
          28         1
                       As set forth in Apple’s concurrently-filed Request for Judicial Notice, Apple
                    respectfully requests that the Court take judicial notice of RJN Exhibits A–D.
Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS           3            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 15 of 37 Page ID
                                                   #:1081

            1       published as the ’726 publication and issued as the ’052 patent, which is the subject of
            2       the twelfth COA); id., Ex. 13 at 850 (the ’052 patent, Prior Publication Data); RJN, Ex.
            3       B (’726 publication, Pub. Date). In other words, a patent application that (i) published
            4       Plaintiffs’ purported secrets, and (ii) named as an inventor the person who Plaintiffs
            5       suspected had misappropriated those secrets, was publicly available more than three
            6       years before Plaintiffs filed this action. Nonetheless, in the intervening three years,
            7       Plaintiffs did nothing.
            8       C.    Plaintiffs Filed This Case with No Explanation for the Delay, No Plausible
                          Description of Alleged Secrets, and No Explanation as to How Apple Was
            9
                          Supposed to Recognize Any Impropriety.
          10
                          The Complaint ignores Plaintiffs’ delay in filing suit.            Plaintiffs offer no
          11
                    explanation for their failures to (1) follow up on their 2014 warning to Apple, or (2) sue
          12
                    after at least one application including their alleged secrets published on March 3, 2016.
          13
                    See Compl. ¶ 24 & Ex. 13; RJN, Ex. B.
          14
                          Further, despite alleging that their trade secrets were disclosed in published patent
          15
                    filings, Plaintiffs do not specify those trade secrets at all. Instead, Plaintiffs allege open-
          16
                    ended categories of information, “including, but not limited to, Plaintiffs’ business plans,
          17
                    know-how, technical information, technical data, designs, manufacturing techniques and
          18
                    other business information.” Id. ¶ 181.
          19
                          The misappropriation allegations are also lacking. As to acquisition, while
          20
                    Plaintiffs allege that “Lamego knew or had reason to know” of his alleged “duty . . . to
          21
                    keep Plaintiffs’ Confidential Information secret,” id. ¶ 186, Plaintiffs do not claim that
          22
                    Apple knew what Lamego’s confidentiality agreement supposedly covered when it
          23
                    supposedly acquired the alleged trade secrets. As for use and disclosure, Plaintiffs allege
          24
                    that Apple “disclosed Plaintiffs’ Confidential Information, without Plaintiffs’ consent,
          25
                    in published patent filings,” id. ¶ 187. But again, Plaintiffs allege no facts plausibly
          26
                    suggesting that Apple knew or should have known which specific information came
          27
          28

Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS             4             CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 16 of 37 Page ID
                                                   #:1082

            1       from Plaintiffs or that the information purportedly was confidential under Lamego’s
            2       “employer-employee” or “fiduciary relationship” with either Plaintiff (id., ¶ 187).
            3       D.    Plaintiffs’ Claims for Patent Infringement, Correction of Inventorship, and
                          Declaratory Judgment Also Lack Basic Facts.
            4
            5             Plaintiffs’ Complaint also asserts patent infringement of ten Masimo patents
            6       without sufficiently comparing the claims of those patents to the actual Accused
            7       Products, even though Plaintiffs could have freely acquired an Apple Watch to perform
            8       a technical analysis. Further, the Complaint asks to change inventorship of several
            9       Apple patents to add persons allegedly affiliated with Plaintiffs and seeks a declaratory
          10        judgment of ownership without meeting all requirements for pleading those causes.
          11                                      III.   LEGAL STANDARD
          12              A complaint must contain “sufficient factual matter, accepted as true, to state a
          13        claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
          14        (internal quotation marks omitted); Mollett v. Netflix, Inc., 795 F.3d 1062, 1065 (9th Cir.
          15        2015). For a claim to be facially plausible, a plaintiff must plead “factual content that
          16        allows the court to draw the reasonable inference that the defendant is liable for the
          17        misconduct alleged.” Iqbal, 556 U.S. at 678. Dismissal is warranted where a complaint
          18        fails to “raise a right to relief above the speculative level.” Bell Atl. v. Twombly, 550
          19        U.S. 544, 555 (2007). “Threadbare recitals of the elements of a cause of action,
          20        supported by mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678.
          21              In patent cases, federal courts have applied Twombly and Iqbal rigorously. See,
          22        e.g., Anderson v. Kimberly-Clark Corp., 570 F. App’x 927, 931 (Fed. Cir. 2014)
          23        (quoting Iqbal, 556 U.S. at 679). This Court has applied these principles to dismiss
          24        cases where complaints, like this one, failed to allege required elements. See, e.g., Injen
          25        Tech. Co. v. AF Dynamic, 2018 WL 6977432, at *2 (C.D. Cal. Oct. 18, 2018).
          26
          27
          28

Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS           5            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 17 of 37 Page ID
                                                   #:1083

            1                                           IV.    ARGUMENT
            2       A.    The Eleventh Cause of Action for Trade Secret Misappropriation Should
            3             Be Dismissed.
                          1.     The Claim Is Time-Barred.
            4
                          A CUTSA claim “must be brought within three years after the misappropriation
            5
                    is discovered or by the exercise of reasonable diligence should have been discovered.”
            6
                    Cal. Civ. Code § 3426.6 (emphasis added). Under California’s discovery rule, “the
            7
                    statute of limitations begins to run when a plaintiff discovers, or has reason to discover,
            8
                    the cause of action.” Klang v. Pflueger, 2014 WL 4922401, at *1–2, 5–6 (C.D. Cal. July
            9
                    10, 2014) (dismissing CUTSA claim where patent applications allegedly disclosing the
          10
                    invention were published at least five years prior to filing). Suspicion starts the clock:
          11
                    “[w]hen there is reason to suspect that a trade secret has been misappropriated, and a
          12
                    reasonable investigation would produce facts sufficient to confirm this suspicion (and
          13
                    justify bringing suit), the limitations period begins, even though the plaintiff has not
          14
                    conducted such an investigation.”         Hays v. VDF Futureceuticals, Inc., 2016 WL
          15
                    5660395, at *3 (D. Haw. Sept. 28, 2016) (applying California limitations law and
          16
                    granting a motion to dismiss because “suspicion of wrongdoing will trigger the statute
          17
                    of limitations”) (quoting Gabriel Techs. Corp. v. Qualcomm Inc., 857 F. Supp. 2d 997,
          18
                    1003 (S.D. Cal. 2012)); Cypress Semiconductor Corp. v. Super. Ct., 163 Cal. App. 4th
          19
                    575, 587 (Cal. Ct. App. 2008) (“[M]isappropriation that triggers . . . the statute is that
          20
                    which the plaintiff suspects, not that which may or may not actually exist.”).
          21
                                 a)     The Limitations Period on the CUTSA Claim Began More
          22                            Than Three Years Ago.
          23
                          The Complaint demonstrates that Plaintiffs were suspicious that Apple was
          24
                    misappropriating their alleged secrets in 2014. Even if Plaintiffs tried to assert ignorance
          25
                    (they do not), “ignorance . . . does not toll the running of the statute.” Klang, 2014 WL
          26
                    4922401, at *6 (internal quotation marks omitted); see Gabriel Techs., 857 F. Supp. 2d
          27
                    at 1003 (“So long as a suspicion exists, it is clear that the plaintiff must go find the
          28
                    facts . . . .”). Once their suspicions were aroused, Plaintiffs had “a duty to investigate
Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS            6            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 18 of 37 Page ID
                                                   #:1084

            1       further” and should be “charged with knowledge of matters which would have been
            2       revealed by such an investigation.” Alamar Biosciences Inc. v. Difco Labs. Inc., 1996
            3       WL 648286, at *3, *8 (citation omitted) (E.D. Cal. Feb. 27, 1996) (granting summary
            4       judgment where it was “undisputed that [Intervention-claimant] strongly suspected
            5       [former employee] of misappropriating its trade secrets, but did nothing”).
            6             The Complaint alleges that after Apple and Masimo met in 2013 to discuss a
            7       “potential collaboration,” “Apple systematically recruited . . . key Masimo personnel,
            8       such as Marcelo Lamego,” who “join[ed] Apple in January 2014.” Compl. ¶¶ 19, 21,
            9       23. Apple allegedly engaged in a “targeted effort to obtain information and expertise”
          10        from Plaintiffs, such that they were compelled to “warn[] Apple about respecting their
          11        rights.” Id. ¶ 22. Moreover, “Apple announced the first version of its watch [an
          12        ostensibly competing technology] in September 2014.” Id. ¶ 28. These alleged facts
          13        alone demonstrate that Plaintiffs suspected Apple of misappropriation in January 2014,
          14        which triggered their obligation to investigate and, consequently, the limitations period.
          15        Cf. Alta Devices, Inc. v. LG Elecs., Inc., 2019 WL 1924992, at *13–14 (N.D. Cal. Apr.
          16        30, 2019) (plaintiff on inquiry notice of claim where competitor failed to return
          17        confidential information under NDA).
          18              The judicially noticeable “warn[ing]” letter—a key document referenced in but
          19        not attached to the Complaint, see Compl. ¶ 22—is dated January 24, 2014, and confirms
          20        Plaintiffs’ suspicions. RJN, Ex. A. The letter states that “[i]t is difficult to imagine any
          21        reason for th[e] sequence of events other than Apple is attempting to gain access to, or
          22        at least the benefit of, Cercacor and Masimo’s trade secrets.” Id. (emphasis added); cf.
          23        Gabriel Techs., 857 F. Supp. 2d at 1004–06 (email between plaintiff’s employees saying
          24        that defendant committed a “direct rip-off” of plaintiff’s trade secret “established that
          25        [plaintiff] had a suspicion of wrong doing which triggered the statute of limitations”).
          26              Because Plaintiffs were “concerned” and “suspicious” that Lamego “would take
          27        proprietary information with him,” and it was “common knowledge” in 2014 that Apple
          28        was pursuing similar technology, Alamar, 1996 WL 648286, at *4—i.e., when it

Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS            7            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 19 of 37 Page ID
                                                   #:1085

            1       “announced the first version of its watch in September 2014,” Compl. ¶ 28—there is no
            2       question that Plaintiffs were on notice of their claim by then.
            3             The statute was again triggered in 2016. The “publication of patents (and now
            4       patent applications) must be deemed, as a matter of law, to place those practicing in the
            5       same field and prosecuting their own patent applications in the same field on full notice
            6       of all of the contents of the publication.” Wang v. Palo Alto Networks, Inc., 2014 WL
            7       1410346, at *6 (N.D. Cal. Apr. 11, 2014); see Alta Devices, 2019 WL 1924992, at *14
            8       (holding reliance on Wang (a summary judgment case) proper on motion to dismiss
            9       despite different procedural posture, because the “Court takes as true . . . the allegations
          10        in [the] complaint” for a motion to dismiss). Courts have routinely found that patent
          11        applications and patents trigger the statute of limitations for sophisticated parties like
          12        Plaintiffs, especially when they are trying to “commercialize [their] own technologies”
          13        and where the application “revealed the alleged trade secrets sued on.” Wang, 2014 WL
          14        1410346, at *6; Hays, 2016 WL 5660395, at *5 (dismissing analogous Hawaii trade
          15        secrets claim, and holding that “statute of limitations . . . began to run when the patents
          16        were issued” because they sufficiently described the methods at issue for Plaintiff “at
          17        least to suspect a factual basis for [the] elements” of his claim (internal quotation marks
          18        omitted)).
          19              Here, the Complaint demonstrates that Plaintiffs knew or should have known
          20        about Apple’s U.S. Patent Application No. 14/740,196, which was published as the ’726
          21        publication on March 3, 2016 and named Lamego as an inventor. See Compl., Ex. 13,
          22        at 1 (citing the ’726 publication). Again, the Complaint alleges that “[s]hortly after
          23        joining Apple in January 2014, Lamego pursued on behalf of Apple numerous patent
          24        applications . . . on technologies he was intimately involved in at Plaintiffs.” Id. ¶¶ 21–
          25        23.   The Complaint also alleges that the patent that issued from the published
          26        application—the ’052 patent—“claims subject matter that Lamego obtained from
          27        discussions with Masimo or Cercacor.” Compl. ¶ 194. But any alleged Masimo
          28        “Confidential Information” contained in the ’052 patent was disclosed to the public

Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS            8            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 20 of 37 Page ID
                                                   #:1086

            1       when the ’726 publication was published on March 3, 2016. See id., Ex. 13; RJN, Ex.
            2       B. The ’726 publication discloses all of the same text and drawings—and thus the same
            3       concepts—as the ’052 patent. Compare Compl., Ex. 13, at 850–67, with RJN, Ex. B, at
            4       13–30. Moreover, the ’726 publication contains all of the claims in the ’052 patent
            5       except claims 15–17, which nonetheless describe features that are still contained in the
            6       ’726 publication. Compare Compl., Ex. 13, at 867, with RJN, Ex. B, at 30–31. In short,
            7       the Complaint demonstrates that the ’726 publication was “publicly available to all” and
            8       “in the same field as” Plaintiffs’ own applications and technology. Wang, 2014 WL
            9       1410346, at *3. Thus, by March 3, 2016, Plaintiffs were on notice of their trade secrets
          10        claim, and so the limitations period (alternatively) commenced at that time. See id. at
          11        *5 (CUTSA claim time-barred where plaintiff “alleged that [defendants’] patent is
          12        ‘based at least in part on (if not completely based on) [plaintiff’s] trade secrets’” (citation
          13        omitted)).
          14                     b)     Plaintiffs Have Not Pleaded an Excuse for Their Delay.
          15              Plaintiffs allege that Apple used their confidential information when Lamego
          16        caused it to file patent applications relating to their technologies in 2014. Compl. ¶¶ 23–
          17        27. Therefore, the “complaint shows on its face that [Plaintiffs’] claim would be barred
          18        without the benefit of the discovery rule;” as a result, Plaintiffs have the burden of
          19        proving the facts necessary to toll the statute. Klang, 2014 WL 4922401, at *6; see
          20        Gabriel Techs., 857 F. Supp. 2d at 1003. To do so, a plaintiff “must specifically plead
          21        facts to show (1) the time and manner of discovery and (2) the inability to have made
          22        earlier discovery despite reasonable diligence.” Klang, 2014 WL 4922401, at *6 (citing
          23        Fox v. Ethicon Endo-Surgery, 35 Cal. 4th 797, 808 (2005)). “[T]he burden [is] on the
          24        plaintiff to ‘show diligence’; ‘conclusory allegations’” are insufficient. Fox, 35 Cal. 4th
          25        at 808 (citation omitted). Here, Plaintiffs make no attempt to explain why they could
          26        not have discovered the alleged misappropriation earlier. Any explanation would not
          27        toll the statute because an entity that, like Masimo, is “actively practicing in the field
          28

Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS             9             CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 21 of 37 Page ID
                                                   #:1087

            1       and prosecuting [its] own patent application must be deemed to be on constructive notice
            2       of published patent applications in the same field.” Wang, 2014 WL 1410346, at *6.
            3             A plaintiff’s claim will be barred where (1) it suspected defendant of
            4       misappropriation, (2) a term search would have revealed the subject patent application,
            5       and (3) it “had done patent searches on the technology of its competitors before.”
            6       Alamar, 1996 WL 648286, at *5–6. Here, the Complaint alleges Massimo “invested
            7       heavily in developing . . . measurement technologies,” Compl. ¶ 12, and “received
            8       numerous U.S. patents for many of its inventions,” id. ¶ 13. In addition to these
            9       admissions, Masimo disclosed to the SEC in 2015 that it had: (1) “468 issued patents
          10        and 243 pending applications” worldwide, RJN, Ex. C, at 59; (2) a “policy . . . to renew
          11        its patents,” id. at 124; and (3) ostensibly “[s]earch[ed] for existing intellectual property
          12        rights,” including competitors’ patent filings, id. at 66. “In these circumstances, a
          13        reasonable plaintiff is required to take the elementary step of checking all readily
          14        available patent applications” to avoid a limitations bar. Alamar, 1996 WL 648286, at
          15        *5–6. Plaintiffs did not do so; thus, their claim is barred.
          16              2.     Plaintiffs’ CUTSA Claim Should Be Dismissed for Failure to State a
                                 Claim.
          17
                          To state a claim under CUTSA, a plaintiff must allege: (1) the existence and
          18
                    ownership of a trade secret, (2) misappropriation of the trade secret, and (3) that
          19
                    defendant’s actions damaged the plaintiff. Bladeroom Grp. Ltd. v. Facebook, 2015 WL
          20
                    8028294, at *3 (N.D. Cal. Dec. 7, 2015). The Eleventh COA fails this test.
          21
                                 a)     Plaintiffs Do Not Sufficiently Allege Any Trade Secrets.
          22
                          It is well-settled that a Plaintiff alleging misappropriation under CUTSA must
          23
                    “describe the subject matter of the trade secret with sufficient particularity to separate it
          24
                    from matters of general knowledge in the trade . . . and to permit the defendant to
          25
                    ascertain at least the boundaries within which the secret lies.” GeoData Sys. Mgmt. v.
          26
                    Am. Pac. Plastic Fabricators, 2015 WL 12731920, at *11 (C.D. Cal. Sept. 21, 2015)
          27
                    (internal quotation marks omitted). “[A]llegations of broad categories relating to
          28

Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS           10            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 22 of 37 Page ID
                                                   #:1088

            1       business or technology are not adequate to support a trade secrets claim.” Human
            2       Longevity, Inc. v. J. Craig Venter Inst., Inc., 2018 WL 6617633, at *4 (S.D. Cal. Dec.
            3       18, 2018); see also Bladeroom, 2015 WL 8028294, at *3 (“generic list of categories of
            4       various types of information” was “vague and conclusory” and insufficient). A CUTSA
            5       claim should be dismissed where, as here, plaintiffs simply plead nebulous categories of
            6       generalized information as trade secrets. Space Data Corp. v. X, 2017 WL 5013363, at
            7       *2 (N.D. Cal. Feb. 16, 2017) (providing merely “a high-level overview of . . . purported
            8       trade secrets” does “not satisfy the Rule 8 pleading requirements”). Plaintiffs’ pleading
            9       deficiency is even more egregious here because they are alleging that the alleged secrets
          10        were purportedly published in patent applications and patents.
          11              Vendavo, Inc. v. Price f(x) AG supports dismissal here. See 2018 WL 1456697
          12        (N.D. Cal. Mar. 23, 2018). There, the plaintiff described the alleged trade secrets as:
          13              source code, customer lists and customer related information, pricing
                          information, vendor lists and related information, marketing plans and
          14              strategic business development initiatives, ‘negative knowhow’ learned
                          through the course of research and development, and other information
          15              related to the development of [defendant’s] price-optimization software,
                          including ideas and plans for product enhancements.
          16
          17        Id. at *3. In holding that plaintiff had “not pleaded sufficient facts to show plausible
          18        misappropriation,” the court explained that the alleged trade secrets were “set out . . . in
          19        broad, categorical terms, more descriptive of the types of information that generally may
          20        qualify as protectable trade secrets than as any kind of listing of particular trade secrets
          21        [plaintiff] has a basis to believe actually were misappropriated.” Id. at *4.
          22              Likewise, the plaintiff in Synopsys, Inc. v. ATopTech, Inc. described the relevant
          23        trade secrets as “relate[d] to [the plaintiffs’] products,” including “proprietary input and
          24        output formats, scripts, and technical product documentation, which generally are not
          25        publicly known.” 2013 WL 5770542, at *6 (N.D. Cal. Oct. 24, 2013). The court
          26        dismissed the trade secrets claim, finding this description “too sweeping and vague.” Id.
          27              Here, Plaintiffs allege that they own “trade secrets including, but not limited to,
          28        Plaintiffs’ business plans, know-how, technical information, technical data, designs,

Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS           11            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 23 of 37 Page ID
                                                   #:1089

            1       manufacturing techniques and other business information”—all seemingly related to
            2       “noninvasive patient monitoring.” Compl. ¶¶ 181, 13, 16. This nonexclusive laundry
            3       list of broad categories of information fails to put Apple on notice of “where trade secret
            4       protection begins and ends.” Synopsys, 2013 WL 5770542, at *6. Indeed, the use of the
            5       phrase “including but not limited to” renders the scope of the alleged trade secrets
            6       unbounded on its face. In addition, because Plaintiffs allege that their trade secrets
            7       encompass “manufacturing techniques,” Compl. ¶ 181, they “must not only identify the
            8       end product manufactured, but also supply sufficient data concerning the process.”
            9       Diodes v. Franzen, 260 Cal. App. 2d 244, 253 (Ct. App. 1968) (emphasis added).2 The
          10        Complaint plainly does not satisfy these standards.
          11              Further compounding the deficiency of the Complaint is the fact that it does not
          12        delineate which trade secrets are owned by which Plaintiff. Compl. ¶ 181. This deprives
          13        Apple of notice of what each Plaintiff claims is a trade secret, which in turn affects
          14        Apple’s purported obligations with respect to any relevant information. See infra
          15        § IV.A.2.b). Adding to the confusion is the inconsistent allegation that Apple misused
          16        “Plaintiffs’ Confidential Information at least by filing patent applications containing
          17        Masimo’s Confidential Information.”        Id. ¶ 185 (emphasis added).       Because the
          18        applications are only alleged to contain Masimo’s trade secrets, this begs the question of
          19        what Cercacor’s trade secrets are and how they even come into play.
          20              At bottom, Plaintiffs have not described the trade secrets with sufficient
          21        particularity and their misappropriation claim must be dismissed.
          22                     b)     The Complaint Fails to Sufficiently Allege Misappropriation by
                                        “Improper Means.”
          23
                          Plaintiffs’ theory of misappropriation—alleged on information and belief—is that
          24
                    “Defendant acquired, used and disclosed Plaintiffs’ Confidential Information at least by
          25
                    filing patent applications containing Masimo’s Confidential Information, without
          26
          27
          28         2
                       Diodes is “widely adopted by federal courts.” Pellerin v. Honeywell Int’l, Inc., 877
                    F. Supp. 2d 983, 988 (S.D. Cal. 2012).
Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS          12            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 24 of 37 Page ID
                                                   #:1090

            1       Plaintiffs’ express or implied consent.” Compl. ¶ 185.
            2
                                        (1)   Plaintiffs Fail to Allege Improper Acquisition.
            3
                          To allege misappropriation by acquisition, Plaintiffs must allege that Apple
            4
                    acquired their trade secret(s) and knew or had reason to know that the trade secret was
            5
                    acquired by “improper means.”          Cal. Civ. Code § 3426.1(b)(1).3          To allege
            6
                    misappropriation by use or disclosure, Plaintiffs must allege that Apple used or disclosed
            7
                    their alleged trade secret without consent and that Apple “[u]sed improper means” to
            8
                    acquire the trade secret, or knew or should have known that its knowledge “was: (i)
            9
                    Derived from . . . a person who had utilized improper means to acquire it; (ii) Acquired
          10
                    under circumstances giving rise to a duty to maintain its secrecy . . .; or (iii) Derived
          11
                    from . . . a person who owed a duty to the person seeking relief to maintain its secrecy.”
          12
                    Id. § 3426.1(b)(2)(A)–(B).
          13
                          With respect to a theory of improper acquisition, Plaintiffs do not allege facts to
          14
                    plausibly claim that Apple knew or had reason to know that any purported acquisition
          15
                    of Plaintiffs’ alleged trade secrets was by improper means. S. Cal. Inst. of Law v. TCS
          16
                    Educ. Sys., 2011 WL 1296602, at *7 (C.D. Cal. Apr. 5, 2011) (“Alleging mere
          17
                    possession of trade secrets is not enough.” (internal alteration and quotation marks
          18
                    omitted)). In particular, they do not allege facts plausibly establishing knowledge by
          19
                    Apple that either Lamego or O’Reilly had an obligation to maintain confidentiality of
          20
                    specific information purportedly shared with Apple, or that Apple independently knew
          21
                    that such information was confidential.4 Compl. ¶¶ 18–22.
          22
          23
                     3
                       “‘Improper means’ includes theft, bribery, misrepresentation, breach or inducement
          24        of a breach of a duty to maintain secrecy, or espionage through electronic or other
                    means.” Cal. Civ. Code § 3426.1(a).
          25
                     4
                        The judicially noticeable “warning” letter only underscores that Plaintiffs cannot
          26        allege that Apple knew or should have known of the scope of their alleged trade secrets
                    because it asserts broad categories of information that Plaintiffs fail to distinguish from
          27        information generally known in the field—e.g., “business plans, . . . strategies, technical
                    data, . . . designs and formulas, discoveries, processes, manufacturing techniques, know-
          28        how, improvements, ideas[,] . . . inventions, trade secrets and other business
                    information.” RJN, Ex. A, at 3.
Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS          13            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 25 of 37 Page ID
                                                   #:1091

            1             Instead, Plaintiffs allege that “Lamego knew or had reason to know” of his
            2       supposed “duty . . . to keep Plaintiffs’ Confidential Information secret,” and that he
            3       disclosed it to Apple without Plaintiffs’ consent. Id. ¶ 186 (emphasis added). Thus, the
            4       best Plaintiffs can plausibly assert is that Apple came into possession of information that
            5       Lamego knew or should have known was secret. This fails to allege a plausible improper
            6       acquisition claim against Apple, however, because “passive reception” of trade secrets
            7       is not “acquisition” under the statute. Silvaco Data Sys. v. Intel Corp., 184 Cal. App.
            8       4th 210, 223 (Cal. Ct. App. 2010) (“The choice of that term [“acquire”] over “receive”
            9       suggests that inadvertently coming into possession of a trade secret will not constitute
          10        acquisition.”), overruled on other grounds by Kwikset Corp. v. Super. Ct., 51 Cal. 4th
          11        310 (Cal. 2011).
          12              Nor is the mere hiring of an employee who is purportedly exposed to Plaintiffs’
          13        trade secrets sufficient to plausibly allege a trade secrets claim. See Compl. ¶¶ 20–21.
          14        To the contrary, California has squarely rejected the inevitable disclosure doctrine,
          15        thereby forbidding a trade secret owner from preventing a former employee from
          16        working for a competitor “without proof of the employee’s actual or threatened use of
          17        trade secrets.” Cypress Semiconductor Corp. v. Maxim Integrated Prods., Inc., 236 Cal.
          18        App. 4th 243, 264–65 (Cal. Ct. App. 2015). Plaintiffs therefore have failed to allege that
          19        Apple was on notice of which information, if any, was confidential such that it would
          20        have been on notice if it had received such information improperly. Pellerin, 877 F.
          21        Supp. 2d at 989 (mere possession of trade secrets is not enough).
          22              Plaintiffs also allege that in 2013, Apple and Masimo entered into a confidentiality
          23        agreement to discuss a potential collaboration and thereafter discussed Masimo’s
          24        technology. Compl. ¶ 19. But the Complaint does not allege that Apple breached that
          25        agreement. Id. In fact, the Complaint says nothing about what the agreement covered,
          26        whether Apple actually received any specific confidential information, and if so, what
          27        Apple was entitled to do with it. Id. (vaguely asserting that “[t]he meetings included
          28        confidential discussions of Masimo’s technology”). Nor does it attach the agreement

Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS          14            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 26 of 37 Page ID
                                                   #:1092

            1       itself. Plaintiffs have thus failed to plead the material terms of the actual contract
            2       between Apple and Masimo; in turn, that contract cannot serve as a basis for Apple’s
            3       supposed knowledge that Plaintiffs’ unspecified information was confidential or
            4       prohibited from being acquired, used, or disclosed. Zora Analytics, LLC v. Sakhamuri,
            5       2013 WL 12124612, at *5 (S.D. Cal. June 18, 2013) (dismissing claim where plaintiff
            6       “failed to adequately plead the terms of the NDA,” and noting that “[d]etermining
            7       whether [defendant] has violated a NDA . . . is difficult without at least alleging the
            8       NDA’s material terms”); Space Data, 2017 WL 5013363, at *2 (“Space Data
            9       acknowledges that Google received the alleged trade secrets pursuant to the NDA.
          10        Accordingly, Space Data must plead facts showing that Google had a duty not to use the
          11        information in the way alleged.”).
          12              What is more, the Complaint does not even plead that Apple had a confidentiality
          13        agreement with Cercacor. Therefore, the only plausible inference to be drawn from
          14        these omissions is that there was no breach—i.e., that any supposed acquisition, use, or
          15        disclosure of information by Apple was permitted by any agreement that did exist. Cf.
          16        Zomm, LLC v. Apple Inc., 391 F. Supp. 3d. 946, 952 (N.D. Cal. 2019) (dismissing breach
          17        of contract claims where confidentiality provisions allowed for use of information that
          18        could be gained from reverse engineering or prior patents).
          19                           (2)    Plaintiffs Fail to Allege Apple’s “Improper” Disclosure or
          20                                  Use.
          21              Plaintiffs also fail to plausibly allege Apple’s improper use or disclosure of their
          22        alleged trade secrets. Again, Plaintiffs vaguely assert, on information and belief, that
          23        Apple “used and disclosed Plaintiffs’ Confidential Information at least by filing patent
          24        applications containing Masimo’s Confidential Information, without Plaintiffs’ express
          25        or implied consent.” Compl. ¶ 185. Plaintiffs also speculate, upon information and
          26        belief, that Apple “knew or had reason to know that the knowledge of Plaintiffs’
          27        Confidential Information came from Plaintiffs, and that Lamego had previously acquired
          28        Plaintiffs’ Confidential Information” under “a duty . . . to keep Plaintiffs’ Confidential
Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS          15            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 27 of 37 Page ID
                                                   #:1093

            1       Information secret.” Id. ¶ 187. But again, Plaintiffs do not allege any facts suggesting
            2       that Apple knew or should have known (1) what specific information purportedly was
            3       protected as confidential by Lamego’s “employer-employee” or “fiduciary relationship”
            4       with either Plaintiff (id.), or (2) what specific information even came from Plaintiffs.
            5       These conclusory allegations—bereft of any factual allegations as to how Apple knew
            6       what specific confidential information Lamego received from Plaintiffs or what his
            7       duties were with regard to the handling of that information—do not plausibly allege that
            8       Apple knew or had reason to know that Lamego was using any alleged trade secrets, or
            9       that such use was unauthorized. See MedioStream, Inc. v. Microsoft Corp., 869 F. Supp.
          10        2d 1095, 1114 (N.D. Cal. 2012) (dismissing trade secrets claims because plaintiff did
          11        not sufficiently allege that defendant, which had received technology from a third party
          12        that had been under contract with plaintiff, knew that the third party was not authorized
          13        to provide that technology to defendant). For the same reasons discussed in the
          14        acquisition section above, any purported agreement between Apple and Masimo cannot
          15        serve as a basis for improper use or disclosure.
          16              In sum, the Eleventh COA must be dismissed because it fails to plausibly plead
          17        that Apple improperly acquired, used, or disclosed any trade secrets owned by Plaintiff.
          18        B.    The First through Tenth Causes of Action Should Be Dismissed because
                          They Do Not Plausibly Plead Patent Infringement.
          19
          20              The patent infringement COAs fail to plead sufficient facts to show that the
          21        Accused Products include every limitation of at least one claim of the Asserted Patents.
          22        Instead, Plaintiffs attempt to map several limitations from each asserted claim to two
          23        unrelated patent application publications, but do not even sufficiently allege that those
          24        publications include all of the claim limitations as required for infringement. Laitram
          25        Corp. v. Rexnord, Inc., 939 F.2d 1533, 1535 (Fed. Cir. 1991). Merely reciting claim
          26        language in the complaint is not enough under Twombly and Iqbal. Int’l Techs. & Sys.
          27        Corp. v. Samsung Elecs. Co. Ltd., 2018 WL 4963129, at *5–6 (C.D. Cal. June 22, 2018).
          28        Rather, this Court and other courts regularly dismiss complaints that fail to allege facts

Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS          16            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 28 of 37 Page ID
                                                   #:1094

            1       sufficient to allow a reasonable inference that each limitation of at least one asserted
            2       claim is met. See, e.g., id.; Horowitz v. Yishun Chen, 2018 WL 6219928, at *3 (C.D.
            3       Cal. May 14, 2018); TeleSign Corp. v. Twilio, Inc., 2016 WL 4703873, at *3–4 (C.D.
            4       Cal. Aug. 3, 2016); see also e.Digital Corp. v. iBaby Labs, Inc., 2016 WL 4427209, at
            5       *5 (N.D. Cal. Aug. 22, 2016) (dismissing patent infringement claim for failure to “map”
            6       each claim limitation).
            7             Moreover, it is imperative that the complaint actually explain how the limitation
            8       is purportedly met. This Court has held that bare facts with no connective reasoning,
            9       such as diagrams inserted into a complaint without explanation, are insufficient. See,
          10        e.g., N. Star Innovations Inc. v. Kingston Tech. Co., Inc., 2018 WL 3155258, at *2–5
          11        (C.D. Cal. May 7, 2018), adopted by 2018 WL 3155708 (C.D. Cal. June 25, 2018);
          12        Metricolor LLC v. L’Oreal S.A., 791 F. App’x 183, 188 (Fed. Cir. 2019) (affirming
          13        dismissal of a patent infringement claim that relied on images of the accused products
          14        without explaining how all claim limitations were met; vacating on other grounds).
          15              Here, the First through Tenth COAs fail to allege facts sufficient to allow a
          16        reasonable inference that the Accused Products meet every claim limitation of the
          17        Asserted Patents. Specifically, the first eight COAs map claim limitations to two Apple
          18        patent application publications instead of the Accused Products, but fail to explain how
          19        these publications show that the Accused Products infringe these claim limitations. The
          20        Ninth and Tenth COAs likewise fail to explain where several claim limitations are found
          21        in the Accused Products.
          22              The First through Eighth COAs merely recite claim language for the majority of
          23        the asserted limitations and allege without factual support that the Accused Products
          24        include the recited limitations “as described” in the ’912 and ’806 publications. See
          25        Compl. ¶¶ 45, 58, 71, 73, 86, 101, 114, 127, 141. These allegations suffer from at least
          26        two fatal flaws. First, the Complaint does not demonstrate that the ’912 and ’806
          27        publications evidence the actual design or operation of the Accused Products,
          28        particularly given that the Complaint states that these publications purportedly describe

Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS         17            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 29 of 37 Page ID
                                                   #:1095

            1       only “some”—but not all—“of the technology” of the Accused Products. Id. ¶¶ 45, 141
            2       (emphasis added). Thus, even if the claim limitations may be described in the ’912 and
            3       ’806 publications, the first eight COAs fail to allege that these limitations are included
            4       in the Accused Products. See, e.g., id. ¶ 45. Notably, the Accused Products are publicly
            5       sold in every major consumer market, and Plaintiffs could have examined an actual unit
            6       and alleged how each claimed limitation maps to the Accused Products.5 Without such
            7       allegations, these COAs fall well short of the Twombly and Iqbal pleading standard.
            8             Second, the First through Eighth COAs fail to even demonstrate that the ’912 and
            9       ’806 publications include the claim limitations. These COAs rely on a figure from either
          10        the ’912 publication or the ’806 publication (depending on the asserted patent), but
          11        provide no explanation of how each figure discloses any of the claim limitations.6 Cf.
          12        Int’l Techs., 2018 WL 4963129, at *5. Thus, the First COA merely recites several
          13        limitations from claim 1 of the ’265 patent and alleges that these limitations are
          14        “described” in Figure 4C and the corresponding text of the ’912 publication. Compl. ¶
          15        45. The First COA, however, provides no explanation of how this figure or text
          16        supposedly describe these recited limitations and no identification of which part of this
          17        figure corresponds to which limitation. The subsequent seven COAs likewise merely
          18        recite claim language and point to a figure and corresponding text from the ’912 or ’806
          19        publications, but fail to link these figures or text to the asserted claims. See id. ¶¶ 59,
          20        73, 86–87, 101, 114, 127, 141.
          21              The Ninth and Tenth COAs suffer from similar defects. Both of these COAs
          22        quote text from an Apple website that describes certain functionality of Apple Watch
          23        products in broad, consumer-focused terms. These COAs then again merely recite
          24        several limitations from claim 1 of the ’703 patent and claim 1 of the ’776 patent,
          25
          26         5
                       Purported teardowns of the Accused Products have been readily available on the
                    Internet for years. See, e.g., Apple Watch Series 4 Teardown, iFixIt (Sept. 24, 2018),
          27        https://www.ifixit.com/Teardown/Apple+Watch+Series+4+Teardown/113044.
          28         6
                      Plaintiffs also rely on the same figure for claim limitations across multiple patents,
                    making it that much less clear which limitations may be found in each figure, and where.
Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS          18            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 30 of 37 Page ID
                                                   #:1096

            1       respectively, and assert without support that the quoted text from the Apple website
            2       describes these limitations. Id. ¶¶ 155–56, 170. The Tenth COA even includes an entire
            3       paragraph spanning two pages that contains nothing beyond a recitation of claim
            4       language and a conclusory assertion that “[u]pon information and belief,” the Accused
            5       Products include the recited limitations. See id. ¶ 171. These COAs fail to explain any
            6       bases for Plaintiffs’ information and belief or otherwise link any of the statements made
            7       on Apple’s website to any limitations of the asserted claims.
            8             This Court has previously dismissed complaints with such scarcity of factual
            9       detail. For example, just like here, the pleading in International Technologies identified
          10        the accused devices, alleged that those devices practiced each limitation of the asserted
          11        claim, and cited to a document created by the defendant that purportedly explained how
          12        the devices performed the accused functionality. Int’l Techs., 2018 WL 4963129, at *5.
          13        This Court, however, found that such allegations failed to state a claim because the
          14        complaint “d[id] not link statements made in the [Defendant’s] documents to the specific
          15        limitations of any asserted claim,” and instead “merely recite[d] the claim language for
          16        each limitation, alleging without factual support that the [accused system] works by
          17        following that limitation.” Id. This Court explained that it need not accept a complaint’s
          18        “threadbare recitals of a cause of action’s elements, supported by mere conclusory
          19        statements.” Id. (quoting Moss v. U.S. Secret Serv., 572 F.3d 962, 969 (9th Cir. 2009))
          20        (alteration omitted). The present Complaint has even fewer details and relies only on
          21        publications that it fails to establish describe the Accused Products. The Complaint here
          22        thus should be dismissed.
          23              This Court also dismissed the complaint in North Star, where the allegations in
          24        the pleading “consist[ed] of nothing more than a recitation of the claim elements” and
          25        “reverse-engineered schematics” that only “show[ed] that the Accused Products meet
          26        some limitations of [the asserted] claim.” N. Star, 2018 WL 3155258, at *3 (emphasis
          27        added). Thus, even though the complaint identified defendant’s accused products and
          28        included diagrams of those products, the Court explained that the diagrams were

Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS          19            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 31 of 37 Page ID
                                                   #:1097

            1       insufficient because they “d[id] not explain which of the Accused Products was analyzed
            2       and how . . . it meets any of the limitations.” Id. at *4. The Complaint here is even more
            3       deficient because it fails to allege how all of the claim limitations are met by the Accused
            4       Products and because the figures from the ’912 and ’806 publications, unlike the
            5       diagrams in North Star, are not even expressly tied to the Accused Products.
            6             In addition to their bare allegations of direct infringement, each of the first ten
            7       COAs contains allegations of indirect infringement. Indirect infringement, however,
            8       requires direct infringement. Dynacore Holdings Corp. v. U.S. Philips Corp., 363 F.3d
            9       1263, 1272 (Fed. Cir. 2004). Because Plaintiffs fail to satisfy the requirements for
          10        pleading direct infringement, their indirect infringement claims must also fail.
          11        Accordingly, the entirety of the First through Tenth COAs should be dismissed.
          12        C.    The Seventeenth Cause of Action for Ownership Should Be Dismissed.
          13              The Seventeenth COA must be dismissed because it is defective for multiple
          14        reasons. First, the Seventeenth COA requests this Court to determine that Plaintiffs “are
          15        the exclusive owners, or at least joint owners” of Apple Patents and Apple Applications,
          16        which are not questions that implicate federal jurisdiction—and yet, Plaintiffs do not
          17        plead a state law jurisdictional basis in this cause of action. Quest Nutrition, LLC v. Bd.
          18        of Supervisors of LSU Agric. & Mech. Coll., 2014 WL 3362061, at *3 (C.D. Cal. July 8,
          19        2014) (“Claims concerning patent ownership do not create federal jurisdiction.” (quoting
          20        Prize Frize, Inc. v. Matrix (U.S.) Inc., 167 F.3d 1261, 1264 (9th Cir. 1999) (alteration
          21        omitted))). Rather, the question over ownership of patents and patent applications is one
          22        “exclusively for state courts.” Jim Arnold Corp. v. Hydrotech Sys., Inc., 109 F.3d 1567,
          23        1572 (Fed. Cir. 1997); Realvirt, LLC v. Lee, 195 F. Supp. 3d 847, 858 (E.D. Va. 2016),
          24        aff’d sub nom. Realvirt, LLC v. Iancu, 734 F. App’x 755 (Fed. Cir. 2018) (citing
          25        Akazawa v. Link New Tech. Int’l, Inc., 520 F.3d 1354, 1357 (Fed. Cir. 2008)).
          26              Second, the Seventeenth COA should be dismissed because it does not identify “a
          27        cognizable legal theory” under state law that would underlie Plaintiffs’ ownership
          28        claims, which this Court requires. See Hamilton v. Deputy # 1, 2014 WL 1289538, at
Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS           20            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 32 of 37 Page ID
                                                   #:1098

            1       *2 (C.D. Cal. Mar. 26, 2014) (citing Balistreri v. Pacifica Police Dept., 901 F.2d 696,
            2       699 (9th Cir. 1988)). 7 Rather, the Seventeenth COA only asserts a legal conclusion (that
            3       Plaintiffs’ employees “had an obligation to assign” their inventions, patents, and patent
            4       applications), but provides neither factual support for this legal conclusion, nor the basis
            5       for the employees’ purported obligation. Compl. ¶ 214. This COA requests a remedy
            6       without identifying a legal basis for that remedy and thus does not plead a cognizable
            7       legal theory.
            8               Third, the Seventeenth COA also is not pleaded with enough clarity to state a
            9       claim. This COA pleads that Plaintiffs “are the exclusive owners, or at least joint owners
          10        of all patents and patent applications” allegedly claiming Plaintiffs’ subject matter,
          11        which “include at a minimum, the Lamego Patents and Lamego Applications” and their
          12        related patents and applications. Id. ¶ 215 (emphasis added). The COA then seeks
          13        ownership of Apple’s patents and applications related to “subject matter developed at
          14        [both] Masimo and Cercacor,” while Lamego and the three purported inventors (e.g.,
          15        Al-Ali, Diab, and/or Weber) “were employed at Masimo or Cercacor.” Id. (emphasis
          16        added). Yet those allegations fail to identify which employee worked for which
          17        corporate entity, when that employment occurred, when the ideas at issue were allegedly
          18        developed, or what subject matter was developed by which employee. 8 Further, the
          19        COA seeks ownership of a potentially vast number of unidentified patents and patent
          20        applications and thus fails to give Apple proper notice of the extent of Plaintiffs’ claims.
          21                Fourth, the Seventeenth COA is fatally defective because it requests exclusive
          22        ownership of patents and patent applications that list Apple employees other than
          23        Lamego as co-inventors, but does not plead any legal theory under which those Apple
          24        employees would have to assign their rights to Plaintiffs. For example, the ’507
          25
          26
                     7
                      Plaintiffs’ request for “declaratory relief” does not cure this problem because the
          27        Declaratory Judgment Act cannot provide an independent basis for relief. Countrywide
                    Home Loans, Inc. v. Mortgage Guar. Ins. Corp., 642 F.3d 849, 853 (9th Cir. 2011).
          28
                     8
                         The three individuals appear to work for Masimo, not Cercacor.
Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS           21            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 33 of 37 Page ID
                                                   #:1099

            1       application and ’095 patent list Apple employee Steven P. Hotelling as an inventor, and
            2       the ’052 and ’670 patents list five Apple employees as inventors in addition to Lamego.
            3       Compl. Exs. 13–15; RJN Ex. D (’507 application, published as U.S. Patent Pub. No.
            4       2018/0238734). Plaintiffs identify no basis for those six employees to assign rights to
            5       them and thus no basis for their request “to change the title to the patents and patent
            6       applications in favor of Masimo and Cercacor.” Compl. ¶ 216. Nor could they plead a
            7       request to remove Mr. Hotelling as an inventor from the ’507 application because there
            8       are “no . . . private causes of action available to a litigant to challenge inventorship of a
            9       pending patent application.” Pappalardo v. Stevins, 746 F. App’x 971, 974 (Fed. Cir.
          10        2018) (citing HIF Bio, Inc. v. Yung Shin Pharm. Indus. Co., 600 F.3d 1347, 1352 (Fed.
          11        Cir. 2010)); Hor v. Chu, 699 F.3d 1331, 1335 (Fed. Cir. 2012) (“A [35 U.S.C.] § 256
          12        claim for correction of inventorship does not accrue until the patent issues.”).
          13              Lastly, the Seventeenth COA should be dismissed because Plaintiffs have
          14        improperly compounded multiple claims in one COA. Instead, Federal Rule of Civil
          15        Procedure 10(b) requires Plaintiffs to separate multiple claims for relief into separate
          16        causes of action and state their allegations “with such clarity and precision that the
          17        defendant will be able to discern what the plaintiff is claiming and to frame a responsive
          18        pleading.” Anderson v. Dist. Bd. of Trs. of Cent. Fla. Cmty. Coll., 77 F.3d 364, 366
          19        (11th Cir. 1996). Here, Plaintiffs have failed to do so. The Seventeenth COA alleges
          20        ownership by two separate parties (Masimo and Cercacor) over at least five issued U.S.
          21        patents and two U.S. patent applications, without distinguishing which party purportedly
          22        owns what, and seeks two distinct outcomes (exclusive ownership and joint ownership).
          23        Compl. ¶¶ 213–16. Moreover, Plaintiffs plead that Lamego had an obligation to assign
          24        patents and patent applications to his “employer [sic], Masimo and Cercacor,” making
          25        it impossible to know which entity (or both) is/are allegedly exclusive or joint owner(s)
          26        of which patents or patent applications. See id. ¶ 214 (emphasis added). Further, each
          27        COA incorporates the allegations of the preceding COAs, without explaining which
          28        factual allegations apply to and support each COA, culminating in the Seventeenth COA,

Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS           22            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 34 of 37 Page ID
                                                   #:1100

            1       which incorporates 210 paragraphs. Id. ¶ 212; see Moore v. City of Orange, 2017 WL
            2       10518114, at *2 (C.D. Cal. Sept. 25, 2017) (finding it “egregious” and a good example
            3       of “shotgun pleading” where a count incorporated the preceding 107 paragraphs instead
            4       of “only those paragraphs which apply to each claim”). The Seventeenth COA also
            5       seeks both “declaratory relief,” under which the Court is asked to “declare” a decision,
            6       and also asks for specific performance in the form of “an order from the Court ordering
            7       Apple to change title.” Compl. ¶ 216. But the Declaratory Judgment Act does not
            8       provide authority for a court to order performance. 28 U.S.C. § 2201 (a court “may
            9       declare the rights and other legal relations of any interested party” (emphasis added)).
          10        D.    The Twelfth through Sixteenth Causes of Action Should Be Dismissed.
          11              1.     Plaintiffs Lack Standing to Seek Correction of Inventorship.
          12              The Twelfth through Sixteenth COAs seek correction of inventorship of the five
          13        Apple Patents under 35 U.S.C. § 256. See Compl. ¶¶ 192–211. These COAs, however,
          14        do not establish that Plaintiffs have constitutional standing to bring these claims. A
          15        plaintiff may not invoke § 256 without meeting constitutional standing requirements: a
          16        showing that the plaintiff has “suffered an injury-in-fact, that the injury is traceable to
          17        the conduct complained of, and that the injury is redressable by a favorable decision.”
          18        Chou v. Univ. of Chicago, 254 F.3d 1347, 1357 (Fed. Cir. 2001) (citing Lujan v. Defs.
          19        of Wildlife, 504 U.S. 555, 560–61 (1992)). To establish standing in the context of a
          20        correction of inventorship claim, a plaintiff must first demonstrate an ownership interest
          21        or another financial stake in the patent at issue. Larson v. Correct Craft, Inc., 569 F.3d
          22        1319, 1327 (Fed. Cir. 2009); Vita-Herb Nutriceuticals, Inc. v. Probiohealth, LLC, 2013
          23        WL 1182992, at *3 (C.D. Cal. Mar. 20, 2013). Here, Plaintiffs fail to allege an
          24        ownership interest in any of the Apple Patents, and thus do not establish standing to
          25        bring correction of inventorship claims.
          26              Plaintiffs’ allegation in their Seventeenth COA that “Lamego, as well as all of the
          27        other employees/inventors, had an obligation to assign said subject matter, patents, and
          28

Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS          23            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 35 of 37 Page ID
                                                   #:1101

            1       patent applications to their employer, Masimo and Cercacor,” Compl. ¶ 214, is
            2       insufficient to confer standing for the Twelfth through Sixteenth COAs for three reasons.
            3             First, the Seventeenth COA is unrelated to the correction of inventorship COAs
            4       because it purportedly raises a claim for correction of ownership—not inventorship. Id.
            5       ¶ 215; see Beech Aircraft Corp. v. EDO Corp., 990 F.2d 1237, 1248 (Fed. Cir. 1993)
            6       (“It is elementary that inventorship and ownership are separate issues.”). The Supreme
            7       Court has “ma[de] clear that ‘standing is not dispensed in gross.’ To the contrary, ‘a
            8       plaintiff must demonstrate standing for each claim he seeks to press and for each form
            9       of relief that is sought.’” Town of Chester v. Laroe Estates, Inc., 137 S. Ct. 1645, 1650
          10        (2017). Second, even if this ownership allegation from the Seventeenth COA applied to
          11        the correction of inventorship COAs, the pleading would still fail to identify which
          12        entity—Masimo, Cercacor, or both—was to receive the assigned rights. The Complaint
          13        is contradictory. Plaintiffs treat Masimo and Cercacor interchangeably, referring to both
          14        collectively as the “[employees’] employer” (singular), while at the same time asserting
          15        that “Cercacor is not owned by Masimo.” Compare Compl. ¶ 214, with id. ¶ 15. Thus,
          16        by failing to allege ownership by any particular entity that can be entitled to the relief
          17        requested, the Complaint does not show that either Plaintiff has standing.
          18              Lastly, the Seventeenth COA alleges only that Lamego had an obligation to assign
          19        patent ownership rights, but does not allege that the assignment was to be automatic.
          20        “[T]he question of whether a patent assignment clause creates an automatic assignment
          21        or merely an obligation to assign is intimately bound up with the question of standing in
          22        patent cases.” DDB Techs., L.L.C. v. MLB Advanced Media, L.P., 517 F.3d 1284, 1290
          23        (Fed. Cir. 2008). “Contracts that merely obligate the inventor to grant rights in the
          24        future . . . ‘may vest the promisee with equitable rights in those inventions once made,’
          25        but do not by themselves ‘vest legal title to patents on the inventions in the promisee.’”
          26        Id. (quoting Arachnid, Inc. v. Merit Indus., Inc., 939 F.2d 1574, 1580–81 (Fed. Cir.
          27        1991)). By pleading only an obligation to assign, Plaintiffs do not establish legal title to
          28        the Apple Patents and thus have no standing to bring their correction of inventorship

Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS           24            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 36 of 37 Page ID
                                                   #:1102

            1       claims. Larson, 569 F.3d at 1326–27 (holding plaintiff “has no financial interest in the
            2       patents sufficient for him to have standing to pursue a § 256 claim,” where interest was
            3       “contingent” on “him first succeeding on his state-law claims [of ownership]”). 9
            4             2.     Plaintiffs Fail to Plead Required Elements of an Inventorship Claim.
            5             The Twelfth through Sixteenth COAs are also fatally deficient because they do
            6       not identify the subject matter Plaintiffs’ employees allegedly jointly invented. To plead
            7       a § 256 claim, a plaintiff must allege facts sufficient to allow a court to draw a reasonable
            8       inference that he “contributed to the conception of the claimed invention and that his
            9       contribution was ‘not insignificant in quality, . . . when measured against the dimension
          10        of the full invention.’” Ecojet, Inc. v. Pure Spa Components, Inc., 2017 WL 3485780,
          11        at *5 (C.D. Cal. Feb. 10, 2017) (quoting Eli Lilly & Co. v. Aradigm Corp., 376 F.3d
          12        1352, 1358 (Fed. Cir. 2004), and Ruling Meng v. Ching–Wu Paul Chu, 643 F. App’x
          13        990, 994 (Fed. Cir. 2016)). Absent such allegations, a § 256 claim must be dismissed.
          14        See id. Here, Plaintiffs allege that their employees Al-Ali, Diab, and Weber are joint
          15        inventors of the Apple Patents, because these patents contain “subject matter that
          16        Lamego obtained from discussions with [them].” Compl. ¶¶ 194, 198, 202, 206, 210.
          17        Plaintiffs, however, fail to identify what parts of the claimed subject matter their
          18        employees allegedly invented, which employee invented which part, and how the
          19        alleged inventions by these employees relate to the claims of the Apple Patents. Thus,
          20        Plaintiffs do not sufficiently allege that their employees contributed significantly to the
          21        inventions claimed in the Apple Patents. Accordingly, the Twelfth through Sixteenth
          22        COAs must be dismissed.
          23                                          V.    CONCLUSION
          24              Apple respectfully requests that the Court dismiss this case with prejudice or
          25        require a more particular statement.
          26
          27
                     9
                        Once the Seventeenth COA is dismissed, the correction of inventorship COAs must
          28        fall with it. See Vita-Herb, 2013 WL 1182992, at *4 (holding that plaintiff had no
                    standing to sue for correction of inventorship once his ownership claim was dismissed).
Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS           25            CASE NO. 8:20-cv-00048-DOC-DFM
                 Case 8:20-cv-00048-JVS-JDE Document 16-1 Filed 03/04/20 Page 37 of 37 Page ID
                                                   #:1103

            1       Dated: March 4, 2020                Respectfully submitted,
            2                                           JOSHUA H. LERNER
                                                        H. MARK LYON
            3                                           GIBSON, DUNN & CRUTCHER LLP
            4
            5                                           By: /s/Joshua H. Lerner
                                                            Joshua H. Lerner
            6
            7                                           Attorneys for Defendant Apple Inc.
            8
            9
          10
          11
          12
          13
          14
          15
          16
          17
          18
          19
          20
          21
          22
          23
          24
          25
          26
          27
          28

Gibson, Dunn &
Crutcher LLP

                    MEMO. ISO APPLE’S MOT. TO DISMISS      26           CASE NO. 8:20-cv-00048-DOC-DFM
